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1
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5    916-498-5700

6    Attorney for Defendant
     JUAN CARLOS MARTINEZ CASTRO
7
8
9                                 IN THE UNITED STATES DISTRICT COURT

10                           FOR THE EASTERN DISTRICT OF CALIFORNIA

11
12   UNITED STATES OF AMERICA,                       )   Case No. 2:19-cr-00233-TLN
                                                     )
13                   Plaintiff,                      )   UNOPPOSED REQUEST FOR
                                                     )   MODIFICATION OF CONDITIONS OF
14   v.                                              )   PRETRIAL RELEASE
                                                     )
15   JUAN CARLOS MARTINEZ CASTRO,                    )
                                                     )
16                   Defendants.                     )
                                                     )
17                                                   )

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           Mr. Martinez Castro appeared before the Honorable Magistrate Judge on December 12,
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     2019, for initial appearance on criminal complaint. CR 1, 3. Defense counsel submitted on the
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     issue of detention and Mr. Martinez Castro was detained. CR 3. He moved for his release under
21
     the Bail Reform Act on January 21, 2020, and was ordered released on pretrial conditions on
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     January 22. CR 16. Condition number 10 states that Mr. Martinez Castro “must not associate or
23
     have any contact with co-defendants unless in the presence of counsel or otherwise approved in
24
     advance by the pretrial services officer.” See CR 18.
25
           Mr. Martinez Castro’s sole co-defendant is his wife, Shannon Jeffries. Condition number 10
26
     has the effect of unduly restricting their communications about routine matters concerning the
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     home, Mr. Martinez Castro’s stepdaughter and new granddaughter, and other non-case-related
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     subjects. He thus seeks modification of this condition to read the following:
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1       You must not associate or have any contact with any co-participant in the criminal
        activity charged in the Indictment unless in the presence of counsel or otherwise
2       approved in advance by the pretrial services officer. You may have non-case-related
3       contact with co-defendant Shannon Jeffries without the presence of counsel or pretrial
        approval.
4
        Assistant United States Attorney Justin Lee has no objection to this modification and
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     the newly worded condition. Pretrial Services Officer Renee Basurto reports that Mr.
6
7    Martinez Castro has been in full compliance of his terms of release as of the filing of this

8    request.
9       For the foregoing reasons, Mr. Martinez Castro respectfully requests that this Court order the
10   requested modification of the terms of his release.
11   Dated: February 14, 2020                          Respectfully submitted,
12                                                     HEATHER E. WILLIAMS
                                                       Federal Public Defender
13
                                                       /s/ Hannah R. Labaree
14                                                     HANNAH R. LABAREE
                                                       Assistant Federal Defender
15
16                                                     Attorneys for Defendant
                                                       JUAN CARLOS MARTINEZ CASTRO
17
18
                                                       ORDER
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20           IT IS HEREBY ORDERED that the conditions of release be modified as specified above.

21   All other conditions remain in full force.

22
23   Dated: February 18, 2020

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27
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     !Unexpected   End of FormulaUnited
      Defendant’s Unopposed Request for                  -2-
      Modification of Conditions of Pretrial Release
